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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 7

HERITAGE HOME GROUP, LLC, et al.,                          Case No. 18-11736 (KG)

                             Debtors.                      (Jointly Administered)




     H. THOMAS KELLER & ASSOCIATES, LLC’S MOTION FOR ALLOWANCE
            AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM
          PURSUANT TO SECTION 503(b) OF THE BANKRUPTCY CODE

         H. Thomas Keller & Associates, LLC (“HT Keller”), by and through its counsel, files

this Motion for Allowance of Administrative Expense Claim Pursuant to Section 503(b) of the

Bankruptcy Code (the “Application”):

                                        JURISDICTION

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157,

1334.

         2.    This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A)-(B) and (O).

                                        BACKGROUND

         3.    HT Keller is a North Carolina limited liability company engaged in the business

of product design, which has included the design of furniture for Thomasville Furniture

Industries, Inc. (“Thomasville”), Broyhill Furniture Industries, Inc. (“Broyhill”), and Drexel

Heritage, a division of HDM Furniture Industries, Inc. (“Drexel”), and in connection with the

brand name Henredon (“Henredon”).

         4.    On or about January 10, 2018, HT Keller and Heritage Home Group, LLC

(“Heritage”) entered into a Design Services Agreement (the “Agreement”) whereby HT

Keller agreed and affirmed that it would provide design services to Heritage, and would grant


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rights to certain furniture and accessory designs to Heritage for the brand names of

Thomasville, Broyhill, Drexel, and Henredon.

        5.        Pursuant to the Agreement, Heritage was obligated to (1) compensate HT Keller

for its services and certain acquired intellectual property rights by means of royalty payments

from the sales of products utilizing HT Keller’s designs, and (2) provide a monthly statement

detailing sales and royalty calculations (“Statements”).

        6.        On July 29, 2018 (the “Petition Date”), Heritage and certain affiliated entities

(collectively, the “Debtors”) filed voluntary petitions for relief under Chapter 11 of Title 11 of

the United States Code, 11 U.S.C. § 101 et seq., as amended (the “Bankruptcy Code”).

        7.        During the course of the Debtors’ Chapter 11 bankruptcy proceedings, Heritage

continued to sell products designed by HT Keller and continued to provide Statements through

January 2019; however, Heritage failed to pay HT Keller royalties for periods after October

2018 and did not provide Statements after January 2019.

        8.        Heritage failed to pay royalties to HT Keller for post-petition sales in the total

amount of at least $93,012.08 as shown on the Statements for the months of October 2018,

November 2018, and January 2019, (collectively, the “Post-Petition Statements”) which were

sent to HT Keller and identifiable as follows:

                                                 Statement Amount
        Statement Date       Period Covered                               Royalties Paid
                                                    of Royalties

              12/14/2018     November 2018                 $27,747.51               $0.00

              01/14/2019     December 2018                 $45,866.21               $0.00

              02/19/2019     January 2019                  $19,399.08               $0.00

                                    TOTALS                 $93,012.08               $0.00

True and correct copies of the Post-Petition Statements are attached hereto as Exhibit A.



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        9.     Heritage failed to provide a Statement for any month after January 2019 (the

“Missing Statements”). Despite the failure to provide the Missing Statements, Heritage is

obligated to pay royalties to HT Keller for all sales that occurred after January 2019.

        10.    On March 15, 2019 (the “Conversion Date”), the Court entered an Order

converting the Debtors’ Chapter 11 cases to cases under Chapter 7 of the Bankruptcy Code and

appointed Alfred T. Giuliano as the Chapter 7 Trustee (the “Trustee”).

                                     RELIEF REQUESTED

        11.    HT Keller requests that this Honorable Court grant HT Keller an allowed

administrative expense in the amount of $93,012.08 plus amounts due and owing for the

Missing Statements pursuant to Section 503(b)(1)(A) of the Bankruptcy Code.

        12.    Section 503(b)(1)(A) of the Bankruptcy Code provides that:

               After notice and a hearing, there shall be allowed, administrative
               expenses, other than claims allowed under section 502(f) of this
               title, including — (1)(A) the actual, necessary costs and expenses
               of preserving the estate ...

11 U.S.C. § 503(b)(1)(A).

        13.    HT Keller is entitled to an allowed administrative expense for the value of the

continued post-petition use of HT Keller’s designs.          As evidenced by the Post-Petition

Statements, $93,012.08 is the actual cost incurred by Debtors for the use of HT Keller’s designs

for the months of November 2018, December 2018 and January 2019.

        14.    HT Keller is also entitled to an allowed administrative expense for the time

periods that Heritage and/or the Trustee sold products but failed to provide HT Keller with a

Statement. To determine the full amount owing to HT Keller, the Trustee should provide a

Statement for the periods after January2019.




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        15.    HT Keller’s designs were needed to continue and maintain Debtors' business

during the Chapter 11 proceedings and were necessary to preserve Debtors' estate.

                                RESERVATION OF RIGHTS

        16.    HT Keller reserves its right to seek additional information and records from the

Debtors and Trustee in support of its administrative expense claims and to amend and/or

supplement this Motion as additional information becomes available.          HT Keller further

reserves its right to seek payment from Debtors and/or the Trustee for royalties or other debts

not addressed in this Motion but owed by Debtors to HT Keller.

        WHEREFORE, creditor HT Keller respectfully requests that the Court enter an order

granting HT Keller an allowed administrative expense claim in the amount of $93,012.08 plus

amounts due for the Missing Statements, order the Trustee to pay such administrative expense

pursuant to Section 503(b)(1)(A), without prejudice to HT Keller’s right to request payment

from the Trustee upon further application to this Court, and granting such additional relief as

this Court deems just and proper.

                                               Respectfully,


Dated: June 28, 2019                          /s/ Marc S. Casarino__________________
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